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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
                                   www.flmb.uscourts.gov

 In re:

 BENJAMIN & NANCY OJEDA,                                     Chapter 13
                                                             Case No.: 2:19-bk-06611-FMD
                          Debtors.

 ________________________________________/


                      DEBTORS' MOTION TO MODIFY CONFIRMED PLAN


                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

                  If you object to the relief requested in this paper you must file a response
          with the Clerk of Court at United States Courthouse, 801 North Florida Avenue,
          Suite 555, Tampa, FL 33602 within 21 days from the date of the attached proof of
          service, plus an additional three days if this paper was served on any party by U.S.
          Mail. If you file and serve a response within the time permitted, the Court will
          either notify you of a hearing date or the Court will consider the response and grant
          or deny the relief requested in this paper without a hearing. If you do not file a
          response within the time permitted, the Court will consider that you do not oppose
          the relief requested in the paper, and the Court may grant or deny the relief
          requested without further notice or hearing. You should read these papers carefully
          and discuss them with your attorney if you have one. If the paper is an objection to
          your claim in this bankruptcy case, your claim may be reduced, modified, or
          eliminated if you do not timely file and serve a response.


          COME NOW the Debtors, by and through undersigned counsel and pursuant to 11 U.S.C.

§ 1329, and move this Court to modify the confirmed plan.

          1.     The Debtors filed bankruptcy on July 15, 2019.

          2.     The Plan was confirmed on August 13, 2020.

          3.     The Order Confirming Plan requires Debtors to turn over any tax refunds beginning

with tax year 2019.



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           4.     Since the Plan was confirmed, Debtors are separated and they filed separate returns.

The Co-Debtor filed the 2023 tax return and received a refund in the amount of $1,756.00. The

Co-Debtor needs to replace the refrigerator as it is over 10 years old. The Co-Debtor provided an

estimate to replace it in the amount of $1,641.98 and paid $200.00 for tax preparation fees.

           5.     Request is hereby made to modify the confirmed Plan to request to keep Co-

Debtor’s 2023 tax refund in the amount of $1,756.00.

           WHEREFORE the Debtors respectfully request that the Court enter an order granting the

Motion; modifying the Plan as requested herein; and granting such other and further relief as the

Court deems appropriate.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 6, 2024, a true and correct copy of the foregoing was

served upon all persons receiving electronic notice via the Court’s CM/ECF system in this

case; and by U.S. first class mail to all persons listed on the Court’s mailing matrix that are not

receiving notice by CM/ECF; Benjamin & Nancy Ojeda, 3330 Banyon Hollow Loop, North Fort

Myers, FL 33903.

                                                       THE DELLUTRI LAW GROUP, P.A.
                                                       1436 Royal Palm Square Blvd.
                                                       Fort Myers, FL 33919
                                                       239-939-0900
                                                       239-210-3680 – Dir.
                                                       239-939-0588 – Fax
                                                       www.DellutriLawGroup.com

                                                       /s/ Carmen Dellutri
                                                       Carmen Dellutri, Esq.
                                                       FBN: 0044385
                                                       CDellutri@DellutriLawGroup.com
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